
This Court,
after a full conference, rendered the following judgment:
"A majority of the Court is of opinion, and doth decide, that the reasons in arrest of judgment, upon the verdict of the jury finding the prisoner guilty of uttering, publishing, and passing in payment the counterfeit bank notes in all the Counts, as in the Indictment against him is charged, and ascertaining the term of his imprisonment in the Jail and Penitentiary-house of this Commonwealth, to be five years and six months, are insufficient to arrest the said judgment, because they do consider that the bank notes in the said Counts set forth and described, are promissory notes, within the true intent and meaning of the Act of General Assembly, entitled, “An Act to amend the Act, entitled, 'an Act reducing into one, the several Acts for punishing persons guilty of certain thefts and forgeries,’ passed the 8th December, 1794.” (a) Which is ordered to be certified.”

 1792, ch. 171, § 1; which enacts, inter alia, "that if any person, &amp;c. shall utter or publish, as true, any false, forge or counterfeited promissory note, for the payment of money or tobacco, or other valuable thing, &amp;c. with intention to defraud any person or persons whatsoever, or any corporation knowing the same to be false, forged or counterfeited, then every such person, &amp;c. shall be deemed guilty of felony," &amp;c. &amp;c.


 Except in Vance’s Case.

